Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 1 of 8 PageID #: 8906



                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

NETWORK-1 TECHNOLOGIES, INC.,                   §
                                                §
                   Plaintiff                    §
                                                §
       v.                                       §      NO. 6:11-cv-00492-RWS-KNM
                                                §
ALCATEL-LUCENT USA INC.,                        §      CONSOLIDATED LEAD CASE
                                                §
                   Defendants.

             JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER

       Pursuant to the Court’s Order that the parties submit an agreed Docket Control Order,

Plaintiff Network-1 Technologies, Inc. (“Plaintiff”) and Defendants Alcatel-Lucent USA Inc.,

Alcatel-Lucent Holdings Inc., Avaya Inc., Axis Communications AB, Axis Communications, Inc.,

Dell Inc., Hewlett-Packard Company, Juniper Networks, Inc., Polycom, Inc., Sony Corporation,

Sony Corporation of America, and Sony Electronics Inc. (collectively, “Defendants”) file this Joint

Motion for Entry of Docket Control Order. The Proposed Docket Control Order, agreed by all

parties, is attached as Exhibit A.




JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 1
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 2 of 8 PageID #: 8907



 Respectfully submitted,

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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 2
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 3 of 8 PageID #: 8908



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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 3
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 4 of 8 PageID #: 8909



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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 4
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 5 of 8 PageID #: 8910



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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 5
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 6 of 8 PageID #: 8911



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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 6
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 7 of 8 PageID #: 8912




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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 7
Case 6:11-cv-00492-RWS Document 613 Filed 05/23/16 Page 8 of 8 PageID #: 8913




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who are deemed to have consented to
electronic service are being served with a copy of this document via the Court’s CM/ECF system
per Local Rule CV-5(a)(3) on this the 23rd day of May, 2016.

                                                   /s/ Jennifer H. Doan
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JOINT MOTION FOR ENTRY OF DOCKET CONTROL ORDER – Page 8
